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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER, and DARREN WADE                No. 2-20-cv-13134
 RUBINGH,
                                              HON. LINDA V. PARKER
       Plaintiffs,
 v                                            MAG. R. STEVEN WHALEN

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of          DEFENDANTS WHITMER
 Michigan, JOCELYN BENSON, in her             AND BENSON’S EX PARTE
 official capacity as Michigan Secretary of   MOTION TO EXCEED PAGE
 State and the Michigan BOARD OF STATE         LIMIT FOR MOTION FOR
 CANVASSERS,                                     SANCTIONS UNDER
                                                   28 U.S.C. § 1927
       Defendants,

 CITY OF DETROIT,
      Proposed Intervening Defendant,

 ROBERT DAVIS,
     Proposed Intervening Defendant,

 DEMOCRATIC NATIONAL
 COMMITTEE and MICHIGAN
 DEMOCRATIC PARTY,
      Proposed Intervening Defendant.
 ___________________________________
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   DEFENDANTS WHITMER AND BENSON’S EX PARTE MOTION TO
    EXCEED PAGE LIMIT FOR MOTION FOR SANCTIONS UNDER
                       28 U.S.C. § 1927

       Now come Defendants Governor Gretchen Whitmer and Secretary of State

Jocelyn Benson, by counsel, and request that this Court allow Defendants to file a

brief in support of their motion for sanctions that exceeds the 25-page limit

established by L.R. 7.1(d)(3)(A) for good cause shown in light of the important

nature of this elections case. In support thereof, Defendants state:

       1.     Because the legal questions before this Court require the discussion of

              multiple factors, along with an application of the law to the facts,

              Defendants require additional pages to adequately make these

              arguments.

       2.     Defendants’ brief is 31 pages in length.




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      WHERFORE, due to the important nature of this case and the legal

questions presented, Defendants’ request to extend the page length to 31 pages is

warranted and reasonable in this case.

                                             Respectfully submitted,

                                             DANA NESSEL
                                             Attorney General

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Dated: January 28, 2021

                              Certificate of Service

I hereby certify that on January 28, 202, I electronically filed the above
document(s) with the Clerk of the Court using the ECF System, which will provide
electronic copies to counsel of record.

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